     Case 1:19-cv-00305-RMC Document 12 Filed 12/27/18 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


AUGUST LOUIS WOLF                           )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )              Case 1:18-cv-01180-LO-TCB
                                            )
                                            )
SAMANTHA MENH                               )
                                            )
       Defendant.                           )
                                            )


            CONSENT MOTION TO RESET HEARING
       Plaintiff, August Louis Wolf, by counsel, pursuant Local Civil Rule 7(F),

respectfully moves the Court to reset the hearing on Defendant, Samantha Menh’s,

motion to dismiss currently noticed for January 4, 2019.

       The arguments and legal bases for this Motion are stated more fully in Plaintiff’s

Memorandum in Support of Motion, being filed contemporaneously with this Motion.

       The parties waive a hearing on this Motion.



       WHEREFORE, Plaintiff respectfully requests the Court to enter an Order (1)

granting Plaintiff’s motion; (2) resetting the hearing on Defendant’s motion to dismiss to

take place on February 1, 2019 at 10:00 a.m.; and (3) awarding such further relief as the

Court deems proper.



                           Signature of Counsel on Next Page



                                           -1-
     Case 1:19-cv-00305-RMC Document 12 Filed 12/27/18 Page 2 of 2



                              AUGUST LOUIS WOLF



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                                     Counsel for the Plaintiff




                            CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2018 a copy of the foregoing was filed

electronically using the Court’s CM/ECF system, which will send notice of electronic

filing to counsel for Defendant and all interested parties receiving notices via CM/ECF.




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                                            -2-
